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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK



FEDERAL TRADE COMMISSION,

                       Plaintiff,

                v.
                                               Case No. 1:23-cv-06188-ER
IQVIA HOLDINGS INC.,

and
                                                REDACTED VERSION
PROPEL MEDIA, INC.

                       Defendants.



  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
                    PRELIMINARY INJUCTION
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603 F.2d 345, 352 (2d Cir. 1979); Yankees Ent. & Sports Network, LLC v. Cablevision Sys.

Corp., 224 F. Supp. 2d 657, 673 (S.D.N.Y. 2002). Again, the Court need look no further than

Defendants’ own documents: DeepIntent’s CEO analyzed what DeepIntent could do if it

controlled IQVIA’s data: “



        .”18

           On July 17, 2023, the FTC’s Commissioners voted 3-0 to commence an administrative

proceeding to determine whether the proposed acquisition violates the antitrust laws. The

administrative trial, which will include up to 210 hours of live testimony, thousands of exhibits,

and voluminous briefing, is scheduled to commence on December 20, 2023. The question before

this Court is therefore limited: has the FTC shown that it has a “fair and tenable chance” of

success on the merits sufficient to maintain the status quo pending a full administrative trial. FTC

v. Lancaster Colony Corp., Inc., 434 F. Supp. 1088, 1090-91 (S.D.N.Y. 1977). The evidence

before this Court easily meets that standard. Absent preliminary relief, IQVIA can acquire and

begin integrating DeepIntent. Customers would be harmed with higher prices and decreased

innovation, and Defendants can “scramble the eggs”—that is, immediately merge their

operations and make it extremely difficult, if not impossible, for competition to be restored to its

previous state. FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 918 (E.D. Mo. 2020) (citing

FTC v. Sysco Corp., 113 F. Supp. 3d 1, 87 (D.D.C. 2015)); Lancaster, 434 F. Supp. at 1096-97.




18
     PX2831-31 (DeepIntent); see also PX2576-17 (DeepIntent).

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                                       III.    ARGUMENT

       Section 7 of the Clayton Act bars mergers “the effect of [which] may be substantially to

lessen competition, or to tend to create a monopoly” in “any line of commerce or . . . activity

affecting commerce in any section of the country.” 15 U.S.C. § 18. Section 7 of the Clayton Act

is intended to arrest anticompetitive mergers “in their incipiency” and, accordingly, requires a

prediction of the merger’s likely impact on future competition. PNB, 374 U.S. at 362 (internal

quotation marks omitted). On July 17, 2023, the Commission found reason to believe that the

proposed acquisition violates Section 7 of the Clayton Act and Section 5 of the FTC Act. The

Commission initiated proceedings before an administrative law judge (“ALJ”) to determine,

upon a full evidentiary record, the merger’s legality. This evidentiary hearing, which will include

up to 210 hours of live testimony before the ALJ, will begin on December 20, 2023.

       The Commission simultaneously authorized the filing of this complaint for a preliminary

injunction in this Court under Section 13(b) of the FTC Act. 15 U.S.C. § 53(b). The FTC is not

asking this Court to permanently enjoin the proposed acquisition, only for preliminary relief to

preserve the status quo and stave off consumer harm until the Commission has exercised its

congressionally vested authority to hold an administrative proceeding and determine whether the

proposed acquisition violates Section 7 of the antitrust laws. See Joint Statement Regarding

Prelim. Inj. Hr’g Schedule at 2, ECF No. 88 [hereinafter “Joint Statement”]. Section 13(b) of the

FTC Act “authorizes the Commission to obtain a preliminary injunction ‘[u]pon a proper

showing that, weighing the equities and considering the Commission’s likelihood of ultimate

success, such action would be in the public interest.’” FTC v. Crescent Publ’g Grp., Inc., 129 F.

Supp. 2d 311, 319 (S.D.N.Y. 2001) (citing 15 U.S.C. § 53(b)). The FTC “meets its burden . . . if

it shows preliminarily, by affidavits or other proof, that it has a fair and tenable chance of

ultimate success on the merits.” Lancaster, 434 F. Supp. at 1090; see also Joint Statement at 12-
                                                 11
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13. It is not until the administrative proceeding, which provides a forum for all parties to present

plenary evidence regarding the probable effects of the merger with up to 210 hours of live

testimony, 16 C.F.R. § 3.41, that the FTC will determine, upon a full evidentiary record, the

merger’s legality. FTC v. H.J. Heinz Co., 246 F.3d 708, 713-14 (D.C. Cir. 2001). Here, multiple

independent bases demonstrate the FTC more than met its burden of showing a fair and tenable

chance of success on the merits in the administrative proceeding, and Defendants do not offer

any equities that override the strong public equities favoring preliminary relief.

A.      THE COMMISSION IS LIKELY TO SUCCEED ON THE MERITS

        Section 7 claims are analyzed under a burden-shifting framework. See, e.g., U.S. v. Baker

Hughes, Inc., 908 F.2d 981, 982-83 (D.C. Cir. 1990).49 Under this burden-shifting framework,

first, the government must establish a prima facie case that an acquisition is unlawful. Baker

Hughes, 908 F.2d at 982-83. The proposed acquisition is the unusual case where the evidence

supports three independent bases that the merger may substantially lessen competition in

violation of Section 7 of the Clayton Act, 15 U.S.C. § 18. First, the proposed acquisition results

in market shares and concentrations that establish a presumption that the merger is illegal,

meaning that the FTC is entitled to a preliminary injunction unless Defendants can meet their

burden to rebut the presumption (which they cannot). See PNB, 374 U.S. at 363-64; Lancaster,

434 F. Supp. at 1094-95, n.4 (collecting cases); FTC v. Wilh. Wilhelmsen Holding ASA, 341 F.

Supp. 3d 27, 62-66 (D.D.C. 2018). Second, the elimination of fierce head-to-head competition

between Defendants may result in a substantial lessening of competition, which is a violation in

itself. See, e.g., U.S. v. H&R Block, 833 F. Supp. 2d 36, 88-89 (D.D.C. 2011); FTC v. Staples,

970 F. Supp. 1066, 1082-83 (D.D.C. 1997); Consolidated Gold Fields PLC v. Minorco, 871 F.2d


49
  The same burden-shifting framework applies to both horizontal and vertical mergers. See U.S. v. AT&T Inc., 310
F. Supp. 3d 161, 191 n.17 (D.D.C. 2018).

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market.51 The relevant product market is the “line of commerce” affected by a proposed merger.

Brown Shoe, 370 U.S. at 324. A relevant product market’s “‘outer boundaries’ are determined by

the ‘reasonable interchangeability of use or the cross-elasticity of demand between the product

itself and substitutes for it.’” FTC v. Tronox Ltd., 332 F. Supp. 3d 187, 198 (D.D.C. 2018)

(quoting Brown Shoe, 370 U.S. at 325); Lancaster, 434 F. Supp. at 1092. That is, “courts look at

‘whether two products can be used for the same purpose, and, if so, whether and to what extent

purchasers are willing to substitute one for the other.’” H&R Block, 833 F. Supp. 2d at 51

(citation omitted). Within a broad relevant market, effective competition often occurs in

narrower relevant markets. See Brown Shoe, 370 U.S. at 325. In fact, when defining relevant

markets, courts are to construe product market “narrowly to exclude any other product to which,

within reasonable variations in price, only a limited number of buyers will turn[.]” Times-

Picayune Publ’g Co. v. U.S., 345 U.S. 594, 612 n.31 (1953). If a merger may substantially lessen

competition in any relevant market, it is prohibited by the Clayton Act.52 See 15 U.S.C. § 18

(prohibiting merger that may substantially lessen competition “in any line of commerce”)

(emphasis added). Here, the Brown Shoe practical indicia, as well as application of the

“hypothetical monopolist test,” show that HCP programmatic advertising is a relevant market.

        Brown Shoe Test: In Brown Shoe, the Supreme Court set forth “practical indicia” for

defining a relevant product market. 370 U.S. at 325. Such factors, as described in Brown Shoe

and its progeny, include “the product’s peculiar characteristics and uses, unique production

facilities, distinct customers, distinct prices,” the existence of classes of customers who desire

particular products, “industry or public recognition” of the market, and how Defendants’


51
   See, e.g., PX1614-02, -05 (IQVIA); PX1745-01 (IQVIA); PX1746-02 (IQVIA); PX1747-01 (IQVIA); PX1749-01
(IQVIA); PX2862-04 (DeepIntent).
52
   See PX6500-97 (Hatzitaskos Report) ¶¶ 197-98 (
                                           ).

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           Entry barriers. The presence of entry barriers weighs in favor of blocking a vertical

merger. Fruehauf, 605 F.2d at 353 (including capital costs and scale economies among the

barriers to be considered); U.S. Steel Corp. v. U.S., 426 F.2d 592, 605 (6th Cir. 1970) (barriers

can include “possible reliance on suppliers from a vertically integrated firm with whom [entrants

are] also competing”); see also Ford Motor Co. v. United States, 405 U.S. 562 at 568-71 (1972).

Substantial entry barriers already exist in the HCP programmatic advertising market, see infra

§ III.A.3.a, and nearly every would-be competitor testified that they need IQVIA’s data to

compete in HCP programmatic advertising, see supra § III.A.2.a. Even combining just IQVIA’s

DMD data with DeepIntent would (per DeepIntent’s CEO)



                       187



                   c. Ability and Incentive to Disadvantage DeepIntent’s Rivals

           Some courts have considered whether the combined firm will have an ability and

incentive to disadvantage rivals as a result of the merger, a framework which “interrelate[s]

closely” with the Brown Shoe factors, as the latter “provide direct insight into the ability and

incentive of the merged firm to harm rivals.” In re Illumina, Inc., No. 9401, 2023 WL 2823393,

at *33 (F.T.C. Mar. 31, 2023); see also AT&T, 310 F. Supp. 3d at 250-52.

                       i. IQVIA’s Ability to Harm DeepIntent’s Rivals

           All three primary competitors in HCP programmatic advertising rely on IQVIA’s HCP

identity data and/or HCP prescribing data, as do all meaningful rivals, and the rivals have all

testified that substantial business would be at risk if IQVIA foreclosed or disadvantaged their

access to IQVIA’s data.188 IQVIA already has a mechanism in place to foreclose or disadvantage


187
      PX2579-03 (DeepIntent); see also PX1252-06 (IQVIA).
188
      See supra § III.A.2.a.

                                                      41
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          .200 Those figures are consistent with IQVIA’s stated strategy of “

                ” of the market through the proposed acquisition.201

         3.       Defendants Cannot Rebut the Strong Prima Facie Case

         Having established multiple prima facie bases for the illegality of the proposed

acquisition, “[t]he burden of producing evidence to rebut [the prima facie case] then shifts to the

defendant.” Baker Hughes, 908 F.2d at 982. To meet their burden, Defendants must demonstrate

that expansion of existing firms or entry by new firms will be “timely, likely, and sufficient in its

magnitude, character, and scope to deter or counteract the competitive effects” of the proposed

acquisition. FTC v. Sanford Health, 926 F.3d 959, 965 (8th Cir. 2019) (citing Horizontal Merger

Guidelines § 9). Although Defendants’ burden, the FTC briefly addresses these defenses

below—the evidence is overwhelming that neither entry nor efficiencies can offset the massive

competitive harm.202

                  a. Entry and Expansion

                      i. Significant Barriers to Entry and Expansion

         IQVIA is willing to spend                                 to acquire both Lasso and DeepIntent and

gain control of                          HCP programmatic advertising market. If entry or expansion

were likely to threaten this market share, this                         investment makes little sense. But

Defendants recognize that substantial barriers make successful entry into the HCP programmatic

advertising market difficult, and that fact underlies IQVIA’s rationale for the acquisitions.203



200
    PX6500 (Hatzitaskos Report) ¶ 349.
201
    PX1377-01 (IQVIA).
202
    Defendants also attempt to distract from the merits by tossing together a grab-bag of constitutional challenges as
affirmative defenses. See Def. IQVIA’s Answer at 18–20 (¶¶10–15), Affirmative Defenses Nos. 10–15, ECF No.
58; Def. PMI’s Answer at 28–29 (¶¶ 10–14), Affirmative Defenses Nos. 10–14, ECF No. 72. As detailed in
Plaintiff’s Motion to Strike, ECF No. 147, the Court need not today decide these constitutional issues, which are
irrelevant to the narrow inquiry under Section 13(b) of whether to grant preliminary relief.
203
    See, e.g., PX2581-24 (PMI); PX1128-12 (IQVIA).

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FTC v. Whole Foods Mkt. Inc., 548 F.3d at 1028, 1041 (D.C. Cir. 2008)) (“Only ‘public equities’

that benefit consumers can override the FTC’s showing of serious questions on the merits.”).

        The paramount public equity favoring injunctive relief is the “public interest in effective

enforcement of the antitrust laws,” Heinz, 246 F.3d at 726, as congressional concern for antitrust

enforcement was the genesis of Section 13(b). Whole Foods, 548 F.3d at 1035 (citing Heinz, 246

F.3d at 726). Allowing this merger to close before the administrative proceeding is completed

would cause immediate harm. IQVIA would be free to “scramble the eggs” by integrating

DeepIntent, accessing all of DeepIntent’s sensitive trade secrets and business information, laying

off employees, and approaching customers as a unified dominant provider. Any harm that

customers suffer in the interim would be irreversible. The inherent difficulties of divesting

integrated assets after a merger has been consummated also weigh in favor of injunctive relief.

Whole Foods, 548 F.3d at 1034; accord FTC v. Dean Foods Co., 384 U.S. 597, 606 n.5 (1966).

Without preliminary relief, “[i]f the acquisition is allowed to proceed but is later found to be

violative of the antitrust laws, divestiture will be required. At best, divestiture is a slow,

cumbersome, difficult, disruptive and complex remedy.” Lancaster, 434 F. Supp. at 1096.

        In contrast, Defendants can claim only private harm from delaying consummation of the

merger. But a “῾risk that the transaction will not occur at all,’ by itself, is a private consideration

that cannot alone defeat the preliminary injunction.” Whole Foods, 548 F.3d at 1041 (citing

Heinz, 246 F.3d at 726). To protect interim competition and preserve the Commission’s ability to

order effective relief, the equities strongly favor preliminary relief.

                                       IV.     CONCLUSION

        For the reasons described above, the Commission respectfully requests that the Court

grant a preliminary injunction.



                                                  50
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Dated: October 25, 2023              Respectfully submitted,


                                     /s/ Jennifer Fleury

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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on October 25, 2023, I electronically filed a true and correct copy of
the foregoing document using the United States District Court for the Southern District of New
York CM/ECF System.

I FURTHER CERTIFY that I served the foregoing document on the following counsel via FTP:

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